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                             UNITED STATES DISTRICT COURT
                             SOUTHERN DISTRICT OF FLORIDA
                                CASE NO. 11-20587-CR-SCOLA

  UNITED STATES OF AMERICA,

         Plaintiff,

  v.

  ANTHONY ROBERTS et al.,

        Defendants.
  _____________________________/

                       ORDER DENYING MOTION TO REDUCE BAIL
         THIS MATTER is before the Court upon the Defendant’s Motion for Order Reducing
  Bail [ECF No. 517], filed by Defendant Anthony Roberts. This Motion is denied.
         On February 10, 2012, this Court held a hearing on the Government’s Motion to Modify
  Bond as to Defendant Roberts [ECF No. 457]. After considering argument from the parties, the
  Court granted the Motion because the Defendant’s bond had been reduced from a $200,000
  corporate surety bond to a $100,000 personal surety bond solely based upon the Defendant’s
  agreement to cooperate with the Government. Because Defendant no longer agreed to cooperate
  with the Government, the Court found that his change of mind brought into question whether the
  bond in place was sufficient to ensure his appearance at trial. Upon concluding that it was not
  sufficient, the Court modified the existing $100,000 personal surety bond to the original
  $200,000 corporate surety with Nebbia condition, and the Defendant was remanded into custody.
         Thereafter, Defendant filed a Motion for Bond Hearing [ECF No. 469] because the initial
  bond was imposed by stipulation and, therefore, Defendant had not yet been accorded a full bond
  hearing. The Court referred that Motion to the Magistrate Judge, who determined upon hearing
  that the bond should be set at $50,000 corporate surety with Nebbia condition.
         By the instant Motion, the Defendant proffers that he is unable to post bond and that the
  amount of bail should be reduced to either $20,000 corporate surety or $30,000 ten percent,
  which his family would be able to pay to obtain his release ahead of trial. Mot. ¶ 4. The Court
  finds that Defendant has failed to show a valid reason to reduce his bond. Essentially, his
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  Motion is based solely upon his financial inability to meet the bond, which is not sufficient to
  obtain the relief he seeks. The Court is under no obligation to provide a bond the Defendant can
  afford, where the amount of bond is required to assure the Defendant’s appearance at trial.
  See United State v. Ramirez, 2010 WL 2990351, at *2 (S.D. Fla. July 29, 2010) (“It is well
  settled in the Eleventh Circuit that a court may impose financial conditions of release on a
  defendant, even if a defendant is unable to meet such conditions, if the court finds that it is
  reasonably necessary to insure the defendant’s presence.”); United States v. LeClercq, 2007 WL
  4365601, at *2 (S.D. Fla. Dec. 13, 2007) (where district court’s determination that bond amount
  is necessary to reasonably assure defendant’s attendance at trial, “the defendant’s detention is
  ‘not because he cannot raise the money, but because without the money, the risk of flight is too
  great’”); see also United States v. Wong-Alverez, 779 F.2d 583, 584-85 (11th Cir. 1985).
          Moreover, this argument was made to, and rejected by the Magistrate Judge at
  Defendant’s bond hearing on February 17, 2012. See Gov’t Resp. at 3-5. Defendant presents no
  new evidence or changed circumstance that would justify a reduction in the amount or conditions
  of his bond. Nor does he cite any authority demonstrating that his bond should be lowered here.

          Accordingly, it is hereby ORDERED and ADJUDGED that this Motion is DENIED.


          DONE AND ORDERED in chambers at Miami, Florida on March 9, 2012.




                                              ____________________________________
                                              ROBERT N. SCOLA, JR.
                                              UNITED STATES DISTRICT JUDGE
  Copies to:
  Counsel of Record
  U.S. Mag. Judge P. White
